Case 2:15-cv-00127-ABJ Document 206

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING

BRIAN KEHLER
Plaintiff,
V.
BRIDGESTONE AMERICAS TIRE
OPERATIONS, LLC, COMMERCIAL
TIRE, INC., and JOHN DOE
CORPORATIONS/ENTITIES 1-3

Defendants.

Case Number 15-CV-127-J

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PLAINTIFF'S MOTION IN LIMINE

TO EXCLUDE REFERENCE TO, ARGUMENT

RELATED TO, OR SUGGESTION THAT THE FAILURE OF THE SUBJECT TIRE WAS

CAUSED

BY ROAD HAZARD

 

Plaintiff, Brian Kehler, by and through his undersigned attorneys of record, hereby

submits the following Motion In Limine

to Exclude any reference to, argument related to, or

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suggestion that the failure of the subject tire was caused by a road hazard. In support thereof,
Plaintiff states as follows:
CERTIFICATION OF U.S.D.C.L.R. 7.1(b)(1)(A) CONFERRAL
Plaintiff's counsel hereby certifies that pursuant with U.S.D.C.L.R Rule 15.1,
the Plaintiff has conferred with Defendants on the following matter. The Defendants object to
this motion.

NO EVIDENCE EXISTS OF ANY ROAD HAZARD CAUSING DAMAGE TO
THE SUBJECT BRIDGESTONE R283 PRIOR TO ITS FAILURE

1. No evidence exists in this case of any phantom road hazard. Such testimony is
based on pure speculation, and there is no foundation to support testimony.

2. Defendants intend to offer testimony through its experts that there was some
unknown type of pre-accident road hazard at an unknown time causing unknown damage to the
tire. But despite these unknowns, the experts intend to testify that this phantom road hazard is a
cause of the failure of the subject tire. Such testimony is based on pure speculation, and should
be precluded from trial.

3. The Defendants offer no justification to support this contention. The subject tire,
when examined, showed no road hazard. Defendants attempt to create such a phantom road
hazard, without any evidence to substantiate such occurrence, is misleading for the jury, causes
confusion, and is prejudicial to the Plaintiff. F.R.E. 403

4. Defendants, defense counsel and defendants’ experts should not be permitted to

make arguments or allegations that have no factual foundation. Rule 401; Rule of Professional

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Conduct 3.1(a) (“A lawyer shall not bring or defend a proceeding, or assert or controvert an issue
therein, unless there is a basis in law and fact for doing so that is not frivolous”); Rule of
Professional Conduct 3.4 (‘A lawyer shall not... (e) in trial, allude to any matter that... will not
be supported by admissible evidence”).

5. The Defendants can offer no evidence to prove that this phantom road hazard
occurred at any time, and there is no evidence of a road hazard in the tire itself.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court preclude the
Defendants and Defendants’ experts from arguing or alleging that a road hazard existed that was

a cause of the failure of the Bridgestone tire.

Dated this 18'* day of November, 2016.

/s/ Diana Rhodes

 

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CERTIFICATE OF SERVICE

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I, the undersigned, hereby certify that the foregoing document was filed via CM/ECF and

I served a true and correct copy of same upon the entity or entities named below via CM/ECF on

this 18th day of November, 2016.

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